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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF VIRGINIA
                                  Richmond Division

CYNTISHA STEWART, et al.,                )
                                         )               Civil Action No. 3:20-cv-00903-JAG
     Plaintiffs,                         )
                                         )               Hon. John A. Gibney, Jr.
v.                                       )
                                         )
LEXISNEXIS RISK DATA RETRIEVAL           )
SERVICES, LLC a/k/a LexisNexis Risk Data )
Management, Inc., et al.,                )
                                         )
     Defendants.                         )


 DEFENDANTS LEXISNEXIS RISK DATA MANAGEMENT INC. AND LEXISNEXIS
             RISK SOLUTIONS INC.’S PARTIAL MOTION TO
          DISMISS PLAINTIFF’S CLASS ACTION COMPLAINT

       Defendants LexisNexis Risk Data Management Inc. (“LNRDM”) and LexisNexis Risk

Solutions Inc. (collectively, “Defendants”), pursuant to Federal Rule of Civil Procedure 12(b)(6),

respectfully move this Court to dismiss the putative class claims under 15 U.S.C. §§ 1681c(a)

(Claim 1) and 1681e(b) (Claim 3) in the Class Action Complaint filed by Plaintiffs Cyntisha

Stewart, Terry Brown, Eduardo Cantizzano, and Lisa Hill-Green.            In addition, LNRDM

respectfully moves this Court to dismiss Plaintiff Cantizzano’s putative class claim under 15

U.S.C. § 1681e(b) (Claim 2) as it relates to LNRDM. The reasons in support of the motion are set

forth in the accompanying memorandum in support, which is incorporated herein by reference.

       WHEREFORE, Defendants respectfully request that the Court dismiss the identified

claims in the Complaint with prejudice.
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Dated: May 7, 2021                 LEXISNEXIS RISK SOLUTIONS INC.;
                                   LEXISNEXIS RISK DATA MANAGEMENT
                                   INC.

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